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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




 In Re MIMEDX GROUP, INC.
 SECURITIES LITIGATION
                                            Case No. 1:18-cv-00830-WMR
 This Document Relates to:
                                            CLASS ACTION
 ALL ACTIONS




                                    ORDER

      This case comes before the Court on Lead Plaintiff’s Motion for Relief from

Judgment and for Leave to Amend [Doc. 187]. Upon consideration of the Motion,

applicable law, and all appropriate matters of record, the Court DENIES the Motion

for the reasons set forth below.

      I.     BACKGROUND

      Lead Plaintiff Carpenters Pension Fund of Illinois (“CPFI”) bought and sold

Defendant MiMedx Group, Inc. (“MiMedx”) common stock between August 2017

and February 2018, ultimately selling its remaining shares on February 26, 2018.

[Doc. 123-20 at 4].


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      On February 20, 2018, a few days before CPFI sold its remaining shares of

MiMedx stock, MiMedx announced that it was postponing the release of its financial

results for fiscal year 2017 pending the completion of an Audit Committee

investigation into MiMedx’s sales and distribution practices. [Doc. 122 at 17 ¶13].

A few months later, on June 7, 2018, MiMedx announced that the investigation

revealed MiMedx’s reported financial results for fiscal years 2012 to 2016 and that

the first three quarters of 2017 could no longer be relied upon and would be restated.

[Doc. 122 at 17 ¶14].

      CPFI filed the Second Amended Complaint in the instant action against

Defendants MiMedx, Parker H. Petit (“Petit”), Michael J. Senken (“Senken”),

William C. Taylor (“Taylor”), and Cherry Bekaert LLP (“Cherry Bekaert”) on

March 30, 2020, alleging violations of Section 10(b) of the Exchange Act and SEC

Rule 10b-5. [Doc. 122]. Specifically, CPFI alleged: Defendants engaged in

“improper and illicit sales and distribution practices, as well as a massive accounting

fraud perpetrated at the behest of its executive leadership” [id. at 11 ¶3]; Defendants’

“misstatements and omissions misled investors and artificially inflated the

Company’s stock price” [id. at 14 ¶8]; Defendants’ “improper sales and distribution

practices[ ] and fraudulent revenue scheme [were] revealed through a series of partial

disclosures [that caused] the price of MiMedx common stock to decline

dramatically” [id. at 404 ¶573]; and the investment losses CPFI suffered when it sold

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shares of MiMedx stock were the result of the partial disclosures. [Id. at 409-10

¶574].

         The Court entered an order on March 25, 2021, finding that “there were no

corrective disclosures prior to the date Plaintiff sold all of its MiMedx common

stock,” and that, therefore, CPFI lacked standing. [Doc. 185 at 16-17]. Similarly, the

Court found that because Lead Plaintiff “failed to sufficiently allege that a corrective

disclosure of the fraud resulted in the decline of the stock price before it sold the

stock, Lead Plaintiff cannot establish the loss causation element of its Section 10(b)

claim.” [Id. at 14]. The Court accordingly granted each Defendant’s Motion to

Dismiss the Second Amended Complaint for Failure to State a Claim [Docs. 139;

140; 142; 143]. Judgment was subsequently entered for Defendants. [Doc. 186].

         CPFI now files this Motion for Relief from Judgment and for Leave to Amend

seeking to add Amalgamated Bank as a plaintiff and to “incorporate newly-

discovered evidence from the criminal trial of Petit and Taylor (and associated

filings).” [Doc. 187-1 at 24].1 Defendants MiMedx, Senken, and Cherry Bekaert

have each filed a response in opposition to CPFI’s Motion for Relief from Judgment




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 The Court notes that CPFI had ample time to move the Court to add Amalgamated
Bank as a party after learning of the Defendants’ contentions as to its standing and
loss causation, but before the Court ruled; however, for some reason, it chose not to
do so.
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and for Leave to Amend. [Docs. 196; 197; 199]. Defendants Petit and Taylor filed a

notice joining the arguments made in MiMedx’s response. [Doc. 198].




      II.    LEGAL STANDARD

      A party may move to alter or amend a judgment within 28 days after the entry

of the judgment under Rule 59(e) of the Federal Rules of Civil Procedure. While

there are no specific grounds for relief listed in Rule 59(e), a court may alter or

amend a judgment that is based on “manifest errors of law or fact.” Jenkins v. Anton,

922 F.3d 1257, 1263 (11th Cir. 2019) (quoting Metlife Life & Annuity Co. of Conn.

v. Akpele, 886 F.3d 998, 1008 (11th Cir. 2018)). However, a party may not use a

Rule 59(e) motion “to relitigate old matters, raise argument or present evidence that

could have been raised prior to the entry of judgment.” Michael Linet, Inc. v. Vill.

Of Wellington, 408 F.3d 757, 763 (11th Cir. 2005) (citing Stone v. Wall, 135 F.3d

1438, 1442 (11th Cir. 1998)); Jenkins, 922 F.3d at 1263 (“a district court should not

grant relief under Rule 59(e) … based on newly discovered evidence”).

      A party may also seek relief from a final judgment under Rule 60(b) of the

Federal Rules of Civil Procedure. Under Rule 60(b)(1), a court may grant relief from

a judgment for “mistake, inadvertence, surprise, or excusable neglect.” The

“mistake” portion of Rule 60(b)(1) encompasses “mistakes in the application of the

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law.” Parks v. U.S. Life & Credit Corp., 677 F.2d 838, 839-40 (11th Cir. 1982)

(citing Oliver v. Home Indem. Co., 470 F.2d 329, 330-31 (5th Cir. 1972)).

      Rule 60(b) additionally contains a catchall provision that allows a court to

grant relief from a judgment for “any other reason that justifies relief.” Fed. R. Civ.

P. 60(b)(6). Relief under Rule 60(b)(6) is “an extraordinary remedy which may be

invoked only upon a showing of exceptional circumstances.” Griffin v. Swim-Tech

Corp., 722 F.2d 677, 680 (11th Cir. 1984) (citing Ackermann v. United States, 340

U.S. 193, 202 (1950)).

      III.   DISCUSSION

             A. Relief from Judgment

      CPFI is not entitled to relief from the judgment in this case under either Rule

59(e) or Rule 60(b) because CPFI’s motion has failed to convince the Court that it

reached an incorrect conclusion in its Order of March 25, 2021. Further, because

CPFI is not entitled to relief under Rules 59(e) and 60(b), CPFI is also not permitted

leave to amend the complaint.

                     1.   Rule 59(e)

      CPFI’s motion fails under Rule 59(e). CPFI’s motion essentially urges the

Court “to reconsider its ruling because [CPFI] disagree[s] with the district court’s

treatment of certain facts and its legal conclusions.” Michael Linet, 408 F.3d at 763.

However, a party may not, as CPFI is attempting to do here, use a Rule 59(e) motion

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“to relitigate old matters, raise argument or present evidence that could have been

raised prior to the entry of judgment.” Id. (citing Stone, 135 F.3d at 1442). CPFI

predominantly raises the same arguments that it has already raised in the Second

Amended Complaint [Doc. 122] and in its responses in opposition to the Defendant’s

motions to dismiss [Docs. 152 and 153] – arguments that have already been

addressed by this Court in its Order of March 25, 2021.

                     2.   Rule 60(b)

      CPFI’s motion also fails under Rule 60(b). While a party may seek relief from

a judgment under Rule 60(b)(1) based on mistakes in the application of the law, see

Parks, 677 F.2d at 839-40, the Court finds CPFI’s argument that the Court

misapplied the law in its Order of March 25, 2021, to be without merit. As the Court

stated in its Order, CPFI failed to satisfy both the standing requirement to bring a

claim against Defendants (which required CPFI to “plausibly allege a causal

connection between its injury and the challenged action of the Defendants”) and the

loss causation element of a Section 10(b) claim (which required CPFI to “offer proof

of a causal connection between the misrepresentation and the investment’s

subsequent decline in value”). [Doc. 185 at 6-7]. Both the standing and loss

causation determination hinged on the requirement that there be some causal

connection between the Defendants’ fraudulent activity and CPFI’s injury – a

connection this Court found to be nonexistent.

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      CPFI takes issue with the fact that the Court only addressed the perceived

“corrective disclosures” that were made prior to February 26, 2018. [Doc. 187-1 at

10]. However, the Court focused solely on pre-February 26, 2018 matters because

any disclosure made after this date, whether determined to be corrective or not,

would not have resulted in loss to CPFI. Any disclosure made after CPFI sold its

shares could not have affected the value of CPFI’s shares or been a reason that CPFI

decided to sell its shares. As the Court noted in its Order: “If a shareholder claims

that its investment losses were caused by alleged misrepresentations that inflated a

company’s stock price, but the investor sells the shares before the pertinent truth

regarding the misrepresentations is revealed through a corrective disclosure, then the

losses are not attributable to the misrepresentations.” [Doc. 185 at 15].

      A corrective disclosure is “a release of information that reveals to the market

the pertinent truth that was previously concealed or obscured by the company’s

fraud.” Meyer v. Greene, 710 F.3d 1189, 1196 (11th Cir. 2013) (citing FindWhat

Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1311-12 (11th Cir. 2011)). While it is

true that a plaintiff “need not rely on a single, complete corrective disclosure,” and

“it is possible to show that the truth gradually leaked out into the marketplace

‘through a series of partial disclosures,”2 as the Court explained in its Order, none



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 Meyer, 710 F.3d at 1197 (quoting Lormand v. US Unwired, Inc., 565 F.3d 228,
261 (5th Cir. 2009)).
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of the “partial disclosures” that occurred prior to February 26, 2018, were corrective

disclosures. [Doc. 185 at 7-13; 16].3 CPFI has failed to raise any argument that

would warrant a different conclusion.

      Further, CPFI has not provided the Court with “any other reason that justifies

relief” under Rule 60(b)(6). CPFI’s motion focuses primarily on the Court’s

“mistakes in the application of the law” which falls squarely under Rule 60(b)(1).

Parks, 677 F.2d at 839-40 (citing Oliver, 470 F.2d at 330-31). Rules 60(b)(1) and

(b)(6) are “mutually exclusive,” and “a court cannot grant relief under (b)(6) for any

reason which the court could consider under (b)(1).” Cavaliere v. Allstate Ins. Co.,

996 F.2d 1111, 1115 (11th Cir. 1993) (quoting Solaroll Shade & Shutter Corp. v.

Bio-Energy Sys., 803 F.2d 1130, 1133 (11th Cir. 1986)).

             B. Leave to Amend

      CPFI may not seek leave to amend under Rule 15(a) of the Federal Rules of

Civil Procedure, because “Rule 15(a), by its plain language, governs amendment of

pleadings before judgment is entered; it has no application after judgment is

entered.” Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327, 1344 (11th Cir. 2010)

(emphasis in original).




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 Of course, the Eleventh Circuit might disagree. And, if so, this case would return
to this Court for further proceedings.
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      After the court has entered final judgment, the plaintiff “may seek leave to

amend if he is granted relief under Rule 59(e) or Rule 60(b)(6).” United States ex

rel. Atkins v. McInteer, 470 F.3d 1350, 1361 n.22 (11th Cir. 2006) (citing

Czeremcha v. Int'l Ass'n of Machinists and Aerospace Workers, AFL-CIO, 724 F.2d

1552, 1556 (11th Cir. 1984)). However, because the Court finds CPFI is not entitled

to relief under either Rule 59(e) or 60(b), CPFI is also not entitled to leave to amend.

      IV.    CONCLUSION

      For the foregoing reasons, Lead Plaintiff’s Motion for Relief from Judgment

and for Leave to Amend [Doc. 187] is DENIED.

      IT IS SO ORDERED, this 27th day of January, 2022.




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